             Case 5:12-cr-00043-TBR Document 138 Filed 02/03/15 Page 1 of 6 PageID #: 1987
USDC KYWD 245B (12/04) Sheet 1 - Judgment in a Criminal Case




                                                       United States District Court
                                                               Western District of Kentucky
                                                                       PADUCAH DIVISION

UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
           V.                                                     (For Offenses Committed On or After November 1, 1987)
       Phillip Lee Groves                                         Case Number: 5:12-CR-43-1-TBR
                                                                  US Marshal No: 14404-033
                                                                  Counsel for Defendant: John L. Caudill, Retained
                                                                  Counsel for the United States: Marisa J. Ford, Asst. U.S. Atty.
                                                                  Court Reporter: Terri Turner
THE DEFENDANT:
☐ Pursuant to plea agreement

☐ Pleaded guilty to count(s)

☐ Pleaded nolo contendere to count(s)
        which was accepted by the court.

☒ Was found guilty on Counts 3 and 4 of the Indictment on April 11, 2014 by a jury trial, after a plea of not
guilty.

ACCORDINGLY, the Court has adjudicated that the defendant is guilty of the following offense(s):

                                                                                                                            Date Offense
                                   Title / Section and Nature of Offense                                                     Concluded     Count

       FOR CONVICTION OFFENSE(S) DETAIL - SEE COUNTS OF CONVICTION ON PAGE 2

     The defendant is sentenced as provided in pages 2 through 6 of this Judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

☒ The defendant has been found not guilty on Counts 1 and 2.

☐ Count(s)                                                         (Is) (are) dismissed on the motion of the United States.

      IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the Court and the United States Attorney of any material change in the
defendant's economic circumstances.




 1/30/2015
Date of Imposition of Judgment




                                                                                                                       February 2, 2015
             Case 5:12-cr-00043-TBR Document 138 Filed 02/03/15 Page 2 of 6 PageID #: 1988
USDC KYWD 245B (12/04) Sheet 1A - Additional Counts of Conviction

                                                                                                      Judgment-Page 2 of 6
DEFENDANT: Groves , Phillip Lee
CASE NUMBER: 5:12-CR-43-1-TBR

                                                                    COUNTS OF CONVICTION
                                                                                                Date Offense
                                     Title / Section and Nature of Offense                       Concluded       Count

18:U.S.C § 1832(a)(1), (2), (3), and (4) – Intent to Convert a Trade Secret, Class C felonies    2/22/2008          3

18:U.S.C § 1832(a)(1), (2), (3), and (4) - Intent to Convert a Trade Secret, Class C felonies    2/27/2008          4
             Case 5:12-cr-00043-TBR Document 138 Filed 02/03/15 Page 3 of 6 PageID #: 1989
USDC KYWD 245B (12/04) Sheet 4 - Probation

                                                                                                                              Judgment-Page 3 of 6
DEFENDANT: Groves , Phillip Lee
CASE NUMBER: 5:12-CR-43-1-TBR

                                                               PROBATION
       The defendant is hereby placed on probation for a term of 2 years as to Counts 3 and 4 of the
Indictment.
The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as directed by the probation officer.

☒ The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of
        future substance abuse.

☒ The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

☒ The defendant shall cooperate in the collection of DNA as directed by the probation officer.

☐ The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
        seq.) As directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
        resides, works, is a student, or was convicted of a qualifying offense.

☐ The defendant shall participate in an approved program for domestic violence.

        If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay
any such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the
Schedule of Payments set forth in the Criminal Monetary Penalties sheet of this judgment.

            The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                                             STANDARD CONDITIONS OF SUPERVISION
1)    The defendant shall not leave the judicial district without the permission of the court or probation officer;
2)    The defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of Each
      month;
3)    The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)    The defendant shall support his or her dependents and meet other family responsibilities;
5)    The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other Acceptable
      reasons;
6)    The defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    The defendant shall refrain from excessive use of alcohol and shall note purchase, possess, use, distribute, or administer any controlled
      substance or Paraphernalia related to any controlled substances, except as prescribed by a physician;
8)    The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a Felony
      unless granted permission to do so by the probation officer;
10)   The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
      Contraband observed in plain view of the probation officer;
11)   The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)   The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the Permission of
      the court;
13)   ) As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
      Record or personal history or characteristics, and shall permit the probation officer to make such notifications and to confirm the Defendant's
      compliance with such notification requirement.
             Case 5:12-cr-00043-TBR Document 138 Filed 02/03/15 Page 4 of 6 PageID #: 1990
USDC KYWD 245B (12/04) Sheet 4A - Additional Probation Terms

                                                                                                                  Judgment-Page 4 of 6
DEFENDANT: Groves , Phillip Lee
CASE NUMBER: 5:12-CR-43-1-TBR

                                                       ADDITIONAL PROBATION TERMS


         14)    The defendant shall be confined in the custody of the Bureau of Prisons from 6 p.m. each Friday
until 6 p.m. each Sunday for twenty-five (25) consecutive weekends, commencing as directed by the U.S.
Probation Officer, and shall comply with the rules of the facility in which confined. The Court recommends
that this be served at the Christian County, Kentucky, Jail, in Hopkinsville, Kentucky.
       15)                The defendant shall provide the U.S. Probation Officer with access to any requested financial
information.
       16)      The defendant shall be prohibited from incurring any new credit charges or opening any
additional lines of credit without approval of the probation officer unless he/she is in compliance with the
payment schedule.




Upon a finding of a violation of probation or supervised release, I understand that the Court may (1) revoke supervision, (2) extend the
term of supervision and/or (3) modify the conditions of supervision.

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


      ___________________________________                        _________________________
       Defendant                                                 Date


      ___________________________________                        _________________________
       U.S. Probation Officer/Designated Witness                  Date
             Case 5:12-cr-00043-TBR Document 138 Filed 02/03/15 Page 5 of 6 PageID #: 1991
USDC KYWD 245B (12/04) Sheet 5 - Criminal Monetary Penalties

                                                                                                                            Judgment-Page 5 of 6
DEFENDANT: Groves , Phillip Lee
CASE NUMBER: 5:12-CR-43-1-TBR

                                                      CRIMINAL MONETARY PENALTIES

        The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments set forth
on Sheet 5, Part B.
                                       Assessment                             Fine                               Restitution
             Totals:                    $ 200.00                           $ 15,000.00

☐ The fine and the costs of incarceration is waived due to the defendant's inability to pay.

☐ The determination of restitution is deferred until                           . An Amended Judgment in a Criminal Case (AO 245C) will be
        entered after such determination.

☒ Restitution is not an issue in this case.

☐ The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(I), all nonfederal
victims must be paid in full prior to the United States receiving payment.
                                                                                                          Priority Order
                                                   ** Total                   Amount of                   Or Percentage
Name of Payee                                  Amount of Loss             Restitution Ordered              Of Payment




☐ If applicable, restitution amount ordered pursuant to plea agreement. . . . . $

☐ The defendant shall pay interest on any fine of more than $2,500, unless the fine is paid in full before the fifteenth day after the
        date of judgment, pursuant to 18 U.S.C. 3612(f). All of the payment options on Sheet 5, Part B may be Subject to penalties for
        default and delinquency pursuant to 18 U.S.C. 3612(g).

☐ The court determined that the defendant does not have the ability to pay interest and it is ordered that:

☒ The interest requirement is waived for the                             ☒ Fine and/or      ☐ Restitution

☐ The interest requirement for the                             ☐ Fine and/or   ☐ Restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for
offenses committed on or after September 13, 1994 but before April 23, 1996.
             Case 5:12-cr-00043-TBR Document 138 Filed 02/03/15 Page 6 of 6 PageID #: 1992
USDC KYWD 245B (12/04) Sheet 6 - Schedule of Payments

                                                                                                                        Judgment-Page 6 of 6
DEFENDANT: Groves , Phillip Lee
CASE NUMBER: 5:12-CR-43-1-TBR

                                                        SCHEDULE OF PAYMENTS

            Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A       ☐ Lump sum payment of $                  Due immediately, balance due
          ☐ not later than                     , or
          ☐ in accordance with C, D, or E below); or

B       ☐ Payment to begin immediately (may be combined with C, D, or E below); or

 C ☒          Payment in monthly installments to commence within 60 days after the date of this judgment as approved
              by the Court, pursuant to a payment plan which will submitted to the Court by the U.S. Probation Office
              within 30 days of the date of this judgment.


D       ☐ Payment in           (E.g. equal, weekly, monthly, quarterly) installments of $
                Over a period of      (E.g. months or years) year(s) to commence (E.g., 30 or 60 days)
                after                 Release from imprisonment to a term of supervision; or

E       ☐ Special instructions regarding the payment of criminal monetary penalties:

                Any balance of criminal monetary penalties owed upon incarceration shall be paid in quarterly installments of at least $25
                based on earnings from an institution job and/or community resources (other than Federal Prison Industries), or quarterly
                installments of at least $60 based on earnings from a job in Federal Prison Industries and/or community resources, during
                the period of incarceration to commence upon arrival at the designated facility.

                Upon commencement of the term of supervised release, the probation officer shall review your financial circumstances and
                recommend a payment schedule on any outstanding balance for approval by the court. Within the first 60 days of release,
                the probation officer shall submit a recommendation to the court for a payment schedule, for which the court shall retain
                final approval.

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of imprisonment,
payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary penalties, except those
payments made through the Federal Bureau of Prisons Inmate Financial Responsibility Program, are to be made to the United States
District Court, Gene Snyder Courthouse, 601 West Broadway, Suite 106, Louisville, KY 40202, unless otherwise directed by the
Court, the Probation Officer, or the United States Attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

☐ Joint and Several

            Defendant Name, Case Number, and Joint and Several Amount:

☐ The defendant shall pay the cost of prosecution.

☐ The defendant shall pay the following court cost(s):

☒ The defendant shall forfeit the defendant's interest in the following property to the United States:
     Forfeiture shall be addressed by a separate order from the Court.
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5)
community restitution, (6) fine interest, (7) penalties, and (8) costs, including cost of prosecution and court costs.
